
OPINION OF THE COURT
Memorandum.
The order of the Appellate Division should be reversed, with costs, and the order of Special Term reinstated. We need not resolve the apparent inconsistency between sections 22 and 47-a of the Syracuse Tax Act, for even if section 22 be mandatory it is not self-executing. Until such time as respondents are in fact divested of title they remain responsible for carrying out the demolition order made pursuant to the Housing Code.
Chief Judge Cooke and Judges Jasen, Gabrielli, Jones, Wachtler, Fuchsberg and Meyer concur.
Order reversed, with costs, and the order of Supreme Court, Onondaga County, reinstated in a memorandum.
